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HINDS COUNTY DETENTION DIVISION SERVICES

Quality Assurance Summary
SEPTEMBER 2021

Priscilla Dawson, Quality Assurance Coordinator

Hinds County Detention Division Services, which includes the Jackson Detention Center
(JDC), Raymond Detention Center (RDC), and the Work Center (WC) continues to develop
new policies and practices to improve the function of its jails. The information discussed in
this report is obtained from each facility through staff submissions, Cyberquery, and JMS
reports. Jackson Detention Center statistics will remain in this report until the new staffing
analysis has been completed to reflect the closure of this facility.

Major Kathryn “Kat” Bryan is now fully engrossed in her duties. The magnitude of the
existing problems in Hinds County Detention has been realized. She continues to
methodically work her way through all of the challenges being presented, or recognized,
hourly, daily, and weekly. She continues to work closely with the Interim Sheriff and his
team, the Board of Supervisors, and others to improve conditions for staff and detention

operations.

Major Bryan has had to adjust her strategy for improvement and reaching compliance as
she becomes more familiar with county processes and detention issues unique to this
jurisdiction,the-issues-plaguing detention-but remains committed to effecting change. She has
been working very closely with the Policy GroupCeerdinater to complete and submit policies
to the Department of Justice. She understands the importance of having approved policies to
ensure detention services is properly functioning_and unilaterally put into practice while
protecting the rights of detainees as well as staff. There are also plans to revise and rewrite
post orders that are currently in use.

There are a total of (89) policies due from Hinds County Detention Services. Of this
number, (31) have been approved, signed, and distributed. There are (58) outstanding policies.
The complete list of approved policies is listed below.

. PROTECTION FROM HARM

The staffing analysis was updated in April 2021. The analysis notes changes in the
detention daily jail census which has created allowances for repairs at the Raymond Detention
Center with A and C pods housing detainees while B-pod is currently under renovation. Once
B-pod has been completed, the detainees from A-pod will be transferred there and A-pod will

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DEFENDANT'S
EXHIBIT

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be closed. There are currently no plans underway to renovate A-pod but there is an open
discussion of using at least (2) of the units once B-Pod opens. The closure of the Jackson
Detention Center last year, due to HVAC and plumbing issues, caused their detainees to be
reassigned to the Raymond Detention and Work Center. The Jackson Detention Center is now
being used as a court holding facility and as a backup to the Henley Young Juvenile Justice
Center when their facility’s showers are in disrepair.

The last updated analysis concluded that (284) authorized positions are needed to operate
a safe and secure jail. These numbers were based on Raymond Detention Center’s A and C
pods and the Work Center being in operation. The analysis noted that the jail converted (3)
eight-hour shifts into (2) twelve-hour shifts to provide more efficiency and increased
accountability. The numbers shown are based on the premise of the Jackson Detention Center
being fully in operation and do not account for staffing requirements at the Henley Young
Juvenile Detention Center. A new staffing analysis is in development. This plan will reflect
the closure of the Jackson Detention Center and include staff for the Henley Young Juvenile
Justice Center and the return to 8-hour shifts for detention staff.

The April 2021 analysis revealed that the following positions are required at the
Raymond Detention Center (RDC): (1) JattAdministraterDetention Administrator, (1)
Assistant Jai} AdministraterDetention Administrator, (1) Administrative Assistant, (1) PREA
Coordinator, (1) Quality Assurance Coordinator, (1) Fire Safety Officer, (1) Chief Safety &
Security Officer, (1) Recruiting Officer, and (1) Policy & Procedure Development
Coordinator. Other required positions for the Raymond Detention Center are (1) Captain, (1)
Administrative Lieutenant, (4) Lieutenants, (1) Booking Sergeant, (2) Detention Officers for
Booking security, (1) Detention I.D. Officer, (2) Booking Detention Officers, (2) Central
Control Detention Officers, (2) Sergeants for Housing, (11) B-pod Detention Officers, (10)
C-pod Detention Officers, (1) Detention Officer/Great Hall Escort, (1) Detention Officer for
Medical, (1) Transportation Sergeant, (10) Transportation Detention Officers, (2) Detention
Officers for Guard Shack and Perimeter security, (1) Lieutenant for Booking, Classification,
and Records, which is currently being performed by the Administrative Lieutenant, (1)
Classification Sergeant, (2) Classification Detention Officers, (1) Laundry Detention Officer,
(2) Programs Detention Officers, (1) Mail Detention Officer (Monday-Friday), (1) Kitchen
Detention Officer, (4) Food Service Workers, (1) Food Service Director (1) Front Entrance
Detention Officer, (1) Property Detention Officer, and (1) Teacher for a total of (211.9)
essential positions. According to the most recently-submitted organizational chart for the
Raymond Detention Center there is (1) Captain, (3) Shift Lieutenants, (1) Administrative
Lieutenant, (9) Sergeants, and (63) Detention Officers. These numbers are only for Detention
and do not reflect all personnel at the Raymond Detention Center.

The breakdown for the Work Center (WC) staffing for all shifts should consist of (1)
Captain, (1) Lieutenant, (1) Administrative Assistant, (1) Detention Case Worker Officer, (1)
Sergeant, Shift Commander, (2) Central Control Detention Officers, (2) Detention Rover
Officers, (4) Detention Officers for Housing Units 1-4, (2) Recreation Detention Officers, (1)
Work Crew Detention Officer, (1) Laundry, Kitchen, and Property Detention Officer, (4)
Food Service Workers, and (1) Medical Detention Officer. The most recent organizational

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chart from the Work Center shows that there is currently (1) Facility Commander, (2) Shift

Lieutenants, (1) Administrative Assistant, (1) Classification Detention Officer, (3) Kitchen

Detention Officers, (12) Shift Sergeants, (1) Supply/Grounds/Sanitation Detention Officers,
and (41) Detention Officers and (3) Officers on leave.

Raymond Detention Center’s current organizational chart lists (1) Facility Commander,
(3) Shift Lieutenants, (8) Shift Sergeants, and (66) Detention Officers. Not included on the
chart are Major Kathryn Bryan, Lt. Cheryl George, Lt. Neal Knox, Lt. Caesar Hamilton, Sgt.
Chasyaw Tillman, Sgt. Steven Winter, Maintenance, Fire Safety Officer Miioka Laster;
Officer Bernard Moore, Recruiter, Ms. Chio-wanda Trice, Fiscal, Ms. Sheena Fields, PREA,
Ms. Jimikia Scott, Grievance Coordinator, Ms. Priscilla Dawson, Quality Assurance
Coordinator, Ms. Erica Scott, Court Liaison, Mrs. Melody Clayton, Administrative Assistant,
Records staff, Classification staff, Transportation Officers, Programs staff, Laundry, and
Kitchen staff.

Per the report received from Human Resources, the Sheriff's Office has a total of (432)
funded positions for the entire department with (281) of those positions funded and
assigned to detention services. There are currently (207) people working in this division with
(74) open Detention positions. Since January 2021, (208) people have been hired.

As of September 30, 2021, Hinds County Detention Division Services has (158)
Detention Officers at RDC with (32) vacancies. Six (6) of these positions are with detention
administration with (0) vacancies. The numbers for JDC are (52) Detention
Officers with (19) vacancies. The Work Center (WC) has (65) Detention Officers with (23)
vacancies. Jackson Detention Center’s detention staff had been previously merged into the

Work Center but are being listed separately for reporting purposes. The only staff remaining at
JDC are in Supply, Central Control, and some administrative personnel.

There were (13) new hires in September 2021. There were (6) resignations during the
month of September with (3) from RDC and (3) from WC and (2) terminations in September
2021. On a positive note, there were 2?(3) promotions in Detention Services at RDC. The
Department of Justice’s requested career ladder and retention plan are currently being
devised but will require input from county officials to be viable. Details will be provided
once they have been finalized.

There is a question of the accuracy of the numbers being provided from H/R. In
reviewing this month’s and past data, the number of funded positions didn’t change but the
number of vacancies changed from previous months at all facilities. The numbers did not
balance with the number of stated funded positions, the number of current employees, and
the number of vacancies. This will be followed up in next month’s report.

It was formerly reported that the Jai AdministraterDetention Administrator and Mr.

David Parrish, Corrections Operations/ DOJ Monitor are working on a revised staffing plan
that will reflect the closure of JDC and the reassignment of their staff.the-new-staffing plan
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Hinds-Count+Detention Services: They discussed the plan on September 13th and as of

September 30", there has been no further action from Mr, Parrish. The Jai}Detention
Administrator plans to follow up with him in October.

Bernard Moore III, the Hinds County Detention Division Services’ Recruiter, continues
to actively recruit and interview new candidates to fill detention vacancies, As of September
30", there were (27) pending applications. During September 2021 he received (127)
resumes, (23) applications and interviewed (24) candidates. Officer Moore has drafted an
evaluation form to measure the progress of trainees, however it is not in use. This will be
revisited in future reports.

The JaiLAdministraterDetention Administrator is now working with an H/R consultant to
develop the career ladder and retention plan. Contact has been made with the Department of
Justice’s designated individual but the statuses of the plans are pending due to lack of
communication from the Department of Justice and their representative. This will be
monitored for future reports.

Officer Moore attended (2) job fairs during this reporting period. He previously
expressed plans to visit local colleges for recruiting purposes but due to the pandemic this
has not been possible. Once COVID infection rates sharply decrease and restrictions are
relaxed, Officer Moore will proceed with travelling to college campuses seeking interested
candidates.

As of September 30, 2021 detention services are in need of Detention Officers. The last
class graduated October 1* with (6) new officers joining detention services. The next cadet
class has not yet been scheduled.

As of September 30th, The actual number of policies in review are unknown. The known
ones are listed below. At last report, there were a total of (58) outstanding policies.

Currently approved policies are:

1. 1.100 Administration & Management

2. 1.500 Incident Reports

3. 1.600 Investigations

4. 4,200 Information Management (Inmate Records)
5. 4.500 Assessing and Monitoring Operations
6. 5.100 Safety and Emergency Procedures

7, 5,200 Emergency Response

8. 5.300 Command Operations

9, 5.500 Use of Force

10. 5.600 Use of Restraints

11.6.100 Pre-Booking

12.6.200 Booking Process

13. 7.100 Classification

Commented [KB1]: Dave is not working on a staffing plan
for HY for some reason. Trying to find out why today.

Commented [KB2]: You may want to mention the
numbers of candidates he is regularly getting from the
Indeed website?

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14. 7.200  Classification/Orientation

15. 7.300  Classification/Case Coordination
16. 7.400 Classification/Custedy Reviews
17.8.500 Housing Operations

18. 8.600 Special Management Housing
19.9.100 Shift Operations

20. 9.200 Supervision & Post Operations
21.9.600 Searches

22. 10.200 Maintenance, Sanitation & Hygiene
23. 10.600 Laundry Operations

24. 12.100 Conditions of Confinement

25. 12.400 Inmate Grievances

26. 12.500 Sexual Safety

27. 13.100 Healthcare Management

28. 13.300 Suicide Prevention & Training
29. 15.400 Emergency Messages to Inmates
30. 16.200 Spiritual and Religious Services
31. 16.500 Programs and Services

Policies now in committee review are as follows:
1. 15-100 Mail
15-300 Telephone
14-100 Food Service Management
03-100 Training Administration
03-300 Emergency Response & Use of Force
15-200 Visiting

AAW

The Training Department has developed an in-service policy training curriculum. Policy
training was held September |*-3™, 2021. The topics and number of attendees will be
discussed further down in the report. The names of all participants are listed on the
accompanying spreadsheet. Dates for other in-service training will be provided as training
occurs.

Every agency needs a blueprint to effectively and safely operate. For detention services
this comes in the form of policies and post orders. Policy training is expected to be
performed during each rollcall. Approved policies are also incorporated into the 120 hours
of new Detention Officer training. In the month of September 2021, the Work Center

provided rollcall policy training at a rate of 83% with training performed at nearly every
rollcall on all shifts. The Raymond Detention Center performed (1) rollcall policy training
during the month of September 2021. There are plans to begin rollcall training on all shifts at
RDC. This will be closely monitored.

Interdisciplinary team meetings (IDTs) continue. The meetings are held weekly and are
attended by detention supervisory staff, along with medical, mental health, the discharge
planner, classification, and quality assurance personnel. Mental health staff provides

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participants with a list of mentely-iball inmates on the Mental Health Caseload and
segregated detainees whose progress, or lack
thereof, medication problems, and any recent issues are discussed.

The meetings have shined the light on the treatment of our mentally ill detainees, their
medication compliance, and other basic daily living_and conditions of confinement concerns
they are experiencing that may
be exacerbating their conditions. Many noted concerns have been addressed and/or corrected
as a result of this collaboration. During these meetings decisions are also made on the status
of detainees such as those ready to be “stepped down” from suicide to medical observation
or those who are ready to return to general population.

Medical and mental health staff have been asked to report any unusual conditions and
occurrences immediately upon discovery. They were advised that reporting incidents days
after they occur limits the ability to satisfactorily resolve problems as some incidences are
time-sensitive. Major Bryan and Commander Crain have both requested that they be called,
no matter the time of day or night, if such a situation arises, —

According to Sergeant Steven Winter, Chief Safety Security Officer, the new camera
system that was expected to be installed in July 2021 has not yet been installed. The delay is
a result of the workstations. Once all workstations are in place, B&E Communications are
going to troubleshoot all cameras and install and replace them as needed. The old system was
updated to enable them to communicate with new cameras.

Some, but not all workstations, have arrived. There was some confusion between
detention staff and the contractor in what constitutes a workstation. All questions have been
resolved and the correct items have been ordered.

During the month of September 2021, there were (2) actual fires and (3) fire drills
conducted at RDC. There were no actual fires and (6) fire drills performed at the Work
Center. Miioka Laster, Fire Safety Officer, has followed up with ensuring that a drill is
conducted on each shift at both facilities. He was asked to ensure that monthly drills are
being conducted in each pod.

A discussion was held with Officer Laster to incorporate quarterly drills for
administrative and medical staff so that in the event of a fire everyone, and not just pod
officers, will be familiar with the nearest evacuation points and where staging areas are
located. He later advised that he had made contact with the county’s safety officer to get the
process started and will advise when a schedule has been worked out. We also discussed the
possibility of executing other drills such as active shooter, hurricane, and tornado drills.
Information will be provided as these activities are instated. Per Officer Laster, the fire
suppression system has been repaired at RDC. There is still not a facility-wide fire alert
system and he is not aware of any plans to correct this concern.

The issues that were reported last month concerning the fire extinguishers continue to be

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Commented [KB3]: Excellent notation!

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a problem. Staff are not reporting all fires as they occur. Fire Safety Officer Laster is still
discovering evidence of fire activity when he performs his routine inspection of the fire
extinguishers and finds that they are low or empty. He then asks staff about the missing
incident report and in some cases, one was never generated. This matter will be discussed at
the next supervisor’s meeting.

The Work Center performed (5) shakedowns in September 2021. In (3) instances
contraband was recovered. Items recovered included homemade alcohol, wicks, razors, metal
items and other miscellaneous contraband. All items were bagged and placed in a
secure location.

The Raymond Detention Center conducted (7) shakedowns in September 2021.
Contraband was discovered and confiscated in all of the shakedowns. The contraband found
included shanks, several bags of a brown leafy substance, green leafy substance, white
powdery substance, cellphones, cellphone chargers, cigarette lighters, pills, and several other
forbidden items. All contraband was listed and included with the corresponding incident
reports. The cameras are still inoperable due to full memory cards and their inability to
maintain a charge. As a result, none of the shakedowns conducted at RDC in September 2021
were recorded. New cameras are on order.

Staff heeded last month’s report and conducted an unannounced search in C-Ped Unit 3
on September 21, 2021. Investigator Elkins along with the K-9 Unit, Deputies, and others
initiated the surprise shakedown. A variety of drugs, shanks, cellphones, cellphone chargers,
gym shoes, cigarette lighters, non-commissary radios, and other items were confiscated and
removed from the unit. This corroborates last month’s report in which it was affirmed that
this unit needs extra attention on a regular basis.

One possible source of the continuing introduction of contraband into RDC was
uncovered when an officer was caught attempting to smuggle in a cell phone and other
contraband. The officer was arrested and the contraband confiscated. This is an ongoing
investigation as others may be involved.

There were (0) escapes from the Work Center in September 2021. There were (2) escapes
in August 2021 in which one escapee was captured the same day. One escapee remains at
large. There have been no updates on his whereabouts as of this reporting period. There were
no escapes or attempted escapes from RDC or the WC during this reporting period.

Staff has continued to improve documenting observation logs but they are still not where
they should at this stage. New procedures were introduced in 2020 and staff provided with
templates later followed by sample forms that had been completely filled in to show them
how to document their actions. These sample forms were placed in all pods and Booking.

Some staff persist in falsifying times, pre-filling logs, not completing the top portion or
incompleting it, and not providing explanations for late checks. Logs were created for
hospitalized detainees but none of the logs have been submitted which suggests they are not

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being utilized. Some supervisors are signing off on these forms acknowledging they approve
of them. This will again be addressed at the next staff meeting.

There is still a staff shortage in detention services. The attrition rate has slowed with
several staff leaving while still in training class. There exists a plan to send the Training
Department to Field Training Officer class. As noted in other reports, the use of field training
officers will greatly improve retention because new officers will get the support and proper
training they need. As it stands now, new officers are expected to learn to do their jobs by
observing experienced staff, who in some cases, are not performing their duties according to
policy and procedure.

There has been more movement in court services. Major Bryan previously spoke with the
newly-elected District Attorney about the extended incarcerations of pre-trial detainees. I am
unsure if this is the reason for the increased court hearings or other unknown factors exist. In
September 2021, (16) initial appearances and (30) preliminary hearings were conducted.
Judges are mostly conducting court via LIFESIZE but there is court activity occurring almost
daily. This is very encouraging because the more hearings that are held result in more bonds
being issued and posted and more detainees being released from our jails. This, in turn,
lowers our numbers to a more manageable populace.

Last month it was reported that there are currently (19) individuals who have been
sentenced and are awaiting transfer to MDOC (Mississippi Department of Corrections) and
(24) court-ordered detainees that we are housing for MDOC. This was a total of (43)
detainees that needed to be removed from Hinds County Detention and moved to the
Mississippi Department of Corrections. There were (23) detainees transported to MDOC in
September 2021.

During the month of September 2021, there were (195 at the highest point) detainees on
the mental health caseload with (144) being prescribed psychotropic or other mental health
medications. Of that number (154) of them are seriously mentally ill (SMI) detainees.
According to data received from QCHC, there were (66) mental health referrals in September
2021 down from August’s total of (121) which represents a 45% decrease. Most are
compliant with medication with only 8% being under 70% compliance.

In preceding reports, Mental Health staff reported that detainees on suicide watch were
being given socks, underwear, and t-shirts when they should only have their suicide smocks.
This has been mostly, but not fully, corrected with the installation of steel plates on the
bottoms of all of the questionable doors. This prevents items from entering prohibited areas.
There’s only (1) questionable door awaiting installation of a steel! plate. The work order has
been submitted to the County for repairs. This will continue to be monitored.

The previous method of medication pass at RDC in which medical staff is stationed
behind a window and each detainee is brought individually to the window to retrieve his
medication has been discontinued. The Department of Justice disagreed with this practice.
Medication pass has returned to being conducted at the cage door.

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Medical staff need to ensure that detainees are actually taking their medication.
In viewing medication pass, it was observed that many detainees accepted their medication
and simply walked away. There was no way to confirm the medication was actually
consumed. Major Bryan has suggested that detainees swallow their medication prior to
leaving the cage door. She has said that detainees should be required to splay their fingers to
ensure they are not palming their meds and Medical staff should check their mouths to verify
that pills have been swallowed and not placed under the tongue to be removed at a later time.
This will be followed up in future reports.

The month of September 2021 had (301) detainees with chronic illnesses including
communicable diseases. Of this number (147) were mental health detainees up 8% from
August’s total of (136) detainees. There was (1) elderly detainee receiving medical care and
(22) JCAs (juveniles charged as adults) seen during the month of September. There were no
pregnant females during this reporting period.

. PREA

The PREA Coordinator sends weekly reports of any PREA cases in detention services.
The appointed PREA Coordinator is currently out on leave. Several supervisory staff
members have been assigned to assume her duties until she returns There was (1) PREA
incident during the month of September 2021. It remains under investigation. Please see Lt.
K. McBride’s report.

. IAD

The IAD Division of Hinds County Detention Division Services reported (2) uses of
force (MK-4 OC spray) up from (0) in August 2021; (5) hands-on uses of force; (1) conduct
unbecoming an officer case; (4) Violations of General Orders and (4) fact-findings in
September 2021. All of the uses of force and fact-findings remain under investigation. The
General Order violations have all been sustained with (1) employee being arrested and
subsequently terminated, (1) being suspended, and the termination of (2) additional officers.
One case still pending final review by the Disciplinary Review Board. Two of the fact-
findings could ultimately be determined to be uses of force. Please see Investigator Marlo

Brinnon’s repor ~ | Commented [KB4]; At the time of this report, Major
‘P : = ‘
Bryan still does not have access to these investigations,
precluding her from making timely and necessary

. TRAINING ACTIVITIES corrections to detention operations.

The last cadet class finished September 30, 2021 with (6) of the original (11) trainees
completing the class and joining Detention Services. The next cadet training class has not yet
been scheduled. The Training Department continues to provide 120 hours of classroom
training, along with practical training, which exceeds the state-mandated (96) hours.

Mandatory in-service policy training was held September I*'-3', 2021. The list of
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policies in which staff received training were- 1.100- Administration and Management;
1.600- Review and Investigations and Information Management; and 4,200-Inmate Records
Management. Please see attached spreadsheet for the list of attendees.

E. INCIDENT REPORTING

The following statement remains true and represents an ongoing problem. Incident
reports are not being written as stipulated in Policy 1.500, Section 4 which states, “All
Detention staff who have participated in, or observed, a reportable incident must complete
an incident report in the JMS system. Detention staff who become aware of a reportable
incident that has nat otherwise been reported must also complete an incident report in the
Jail Management System. Reports are completed prompily, but no later than the employee’s
tour of duty during which the incident/awareness occurred. If necessary, supplemental
reports are included to provide clarification, additional information or recollections
including the nature of injuries to staff or inmates, as well as final resolution of the incident.

As mentioned earlier, all fires are not being documented as well as other incidents that
are occurring in the units. Too often it is only through casual conversation with staff that it is
revealed that an incident occurred but there is not an accompanying incident report for
review. This will be discussed at the next Supervisor’s meeting in October.

According to Captain Jarvis Conner, there were (28) incident reports written at the
Raymond Detention Center in September 2021 which is an increase of 87% compared to
August’s total of (15) reports. None of the reports were rejected. There were (3) pending
reports with (25) being approved. These numbers are not totally accurate as it has been
documented that all incidents are not being recorded as they occur.

The Work Center reported that (32) incident reports were written during the month of
September 2021 with (5) being returned for corrections. As of September 30th there were (0)
pending reports and all had been approved.

Henley Young Juvenile Justice Center reported that (7) incident reports were generated
for the JCAs. Their reporting system differs from the adult system therefore their statistics
will differ. Their activity will continue to be monitored in future reports.

F. USE OF FORCE
In the month of September there were (6) uses of force in detention services. Four (4) of
the incidents occurred at RDC with (2) episodes occurring at the WC, however (2) fact-
findings may, upon completion of the investigations, increase the numbers to (3) for the
Work Center. The methods of force include OC Spray (2) and (4) hands on. All cases remain

under review. See IAD’s monthly report.

G. SUICIDE THREATS AND ATTEMPTS

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In September 2021 there were (4) verbal threats of suicide at the Raymond Detention
Center (RDC) and (1) attempted suicide. The Work Center had (0) verbal threats of suicide in
September 2021 and (0) attempted suicides. There were (17) detainees on suicide watch
during the month of September 2021 which is a 19% decrease from August’s total of (21).
There were (3) detainees placed on medical observation which is a step-down from suicide.
Medical is no longer discharging detainees from suicide and sending them directly back to
the pods. They are placing them in medical observation for a few days until they are deemed
ready to return to general population.

Changes made in the management of suicidal detainees has lessened the number of false
declarations from detainees claiming to be suicidal. Detainees placed on suicide watch are
brought out for showers during the third shift to minimize their contact with others. Suicidal
detainees are not allowed to use the telephone nor receive canteen. These changes have
allowed the ones with actual suicidal ideations receive the care and attention they need.

. CLASSIFICATION & RECORDS

Hinds County Detention Division Services housed a total of (609) detainees in the month
of September 2021. Included in these numbers are (18) Probation violators and (6) Parole
violators. Raymond Detention Center (RDC) housed (401) detainees; the Work Center (WC)
housed (179) detainees (number includes JDC’s detainees); Henley Young Juvenile Justice
Center (HYJJC) housed (21) detainees. There were (34) detainees transferred from RDC to
the Work Center and (4) transferred from the WC to RDC. According to Classification’s
report, (318) people were booked into detention services in September 2021 and of those
released in September 2021, (303) were booked in during September 2021.

In September 2021, there were (22) detainees in protective custody at RDC and (15) at
the WC; (17) on suicide; (13) in RDC lockdown; (2) in RDC administrative segregation; (50)
in Work Center lockdown which is significantly higher than last month’s total of (33); (1)
special medical needs detainee and (28) special need lockdown detainees at the Raymond
Detention Center. The Work Center did not have any special needs detainees in lockdown for
this reporting period. Forty (40) detainee files were audited by Records staff with (5) errors
found. There were (0) erroneous releases in September. There were no inmate deaths in the
month of September 2021. Please see Lt. Cheryl George’s monthly report.

. GRIEVANCES

During the month of September RDC received (21) emergency grievances, (91) general
grievances which increased 60% from August's total of (57), and (13) medical grievances.
The WC had (11) emergency grievances down 81% from August’s (57), (64) general
grievances, and (2) medical grievances. There were (15) unresolved grievances at RDC and
(15) at the Work Center.

The Grievance Coordinator has requested that she be the only person responsible for
reviewing and assigning grievances. This effort is being made to reduce the number of actual

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grievances that are being designated as non-grievances. She has reported that staff are not
responding to grievances in a timely manner as evidenced by the number of unresolved
grievances at both facilities in September and plans to address this at the next Supervisor’s
meeting.

DETAINEE PROGRAMMING

The COVID infection rates continue to interrupt all programming activities at RDC and
the Work Center, Detainees continue to receive recreation at both facilities. Once the
pandemic is under control and infection numbers decrease, programming will resume at both
facilities. Henley Young Juvenile Justice Center JCAs continue to receive educational
programming and participate in recreational activities. The JCAs in quarantine receive
programming that has been modified to protect them as well as program providers.

K. FINDINGS

There were a total of (8) assaults at the Raymond Detention Center during the
month of September 2021 which includes (2) assaults on a law enforcement officer. Major
Bryan, or her designee, are reviewing incident reports for these and other errors as mentioned
in previous reports. Failure to comply occurrences at Raymond Detention Center increased
slightly from August’s total of (1) or 2.4% to (2) or 2.8% in September 2021. The Work
Center had (4) or 8.5% failure to comply occurrences down from (6) or 14.6% in August
2021.

Contraband report numbers at RDC differ greatly from what the Facility Commander
reported and what was shown in the Cyberquery report for RDC. The number of shakedowns
recorded at RDC in September (7) in which contraband was recovered in all shakedowns,
differed from his reported numbers. The Facility Commander reports (2) instances of
contraband; Cyberquery lists (5); but the number of shakedowns shows (7) times contraband
was recovered. This great variation needs to be rectified. The Sheriff Office’s 1.T. Officer
discovered discrepancies in reporting that may be contributing to the contradictory
information. This will continue to be monitored. The Work Center reported (2) contraband
retrievals which matches the report in Cyberquery.

On September 15, 2021, a Detention Officer attempted to smuggle in contraband. The
case was investigated and found to be sustained. The offending officer was arrested and has
been terminated.

Medical non-injury events at Raymond Detention Center increased from August 2021’s
total of (3) or 7.1% to (7) or 9.9% in September 2021. Medical reports with injury increased
from (2) or 4.8% in August to (7) 9.9% in September 2021. Detainee suicide attempts
remained the same (1) in September 2021.

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The Work Center reported (13) medical non-injury events but Cyberquery shows (16) for
the same time period. Medical with injury reports were (2) for the month but Cyberquery has
(0) for the month of September. Both reports listed (0) suicide attempts in September 2021.
As previously discussed, the discrepancies need to be clarified.

Assaults at the Raymond Detention Center rose from (5) in August to (8) in September
2021. The Work Center’s assault numbers increased from (0) in August to (3) or (4 according
to Cyberquery) in September.

There continues to be a difference in number of occurrences being reported in
Cyberquery and the reports received from facility Command Staff at RDC and the Work
Center. It is nearly impossible to produce an accurate report as long as the numbers continue
to fluctuate and contrast. Major Bryan, Command Staff, and the I.T. Officer are all aware of
this issue.

The Henley Young Juvenile Justice Center, which houses our JCAs (Juveniles Charged
as Adults), forwarded (7) incident reports for September 2021. There was (1) assault; (0)
medical with and without injury reports; (0) escapes or attempts, (0) shakedowns; (0)
contraband found.

There were (73) work orders total for both facilities in September 2021 with the majority
of them occurring at the Raymond Detention Center. This is a significant decrease of 40%
from August. Of this total, (14) were still outstanding as of September 30, 2021. Work orders
have been submitted. The majority of the needed repairs still center around plumbing,
electrical, and doors at the Raymond Detention Center.

Most of the HVAC problems appear to have been resolved for the time being. All
approved repairs have been completed at RDC. The Work Center’s HVAC issues are still
pending. In order to resolve all problems at both facilities, the Board of Supervisors need to
approve the bids so that repairs can be scheduled.

Work continues in B-Pod. The new glass has been installed in all B-Pod doors. The units
have been cleaned, painted, and appear ready for occupation, Glass installation work has
commenced in C-Pod but is not complete. Steel plates have been installed on several doors to
prevent the introduction of contraband or other items in unapproved locations. The
workstations have not been installed and because of a miscommunication/misunderstanding
with the contractor, they will be further delayed.

B-Pod houses detainee workers, detainees awaiting classification, and detainees who
have tested positive for COVID. The Mental Health Unit, which will be housed in B-Pod, is
scheduled to open in October. The unit was slated to be in full operation by the end of
September but was delayed due to material and installation delays_as well as a delay by the
county in approving the new medical contract which would provide for additional mental
health staff (is this in the Consent Decree/Stipulated Order?). Staff selected to work in the

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mental health unit has received the first phase of training. There are several more upcoming
trainings being scheduled to fully prepare the officers for their new duties.

Once B-Pod opens, all doors in B1-ISO will be locked. One (1) door will be modified
with a special privacy door to equip this cell for use as a toilet. There are plans to renovate (2)
units in A-Pod once B-Pod opens. These units will serve as model hybrid direct supervision
units. All doors will be removed to allow officers an unobstructed view of all cell activities.
Life-safety fencing installation will be included in the A-Pod redesign. The Sheriff's Office
will be providing a plan for the opening of units in A Pod to the monitors for approval prior to
initiating any renovations.

Water operations at RDC are suffering as the result of (2) water pumps that need to be
replaced. This is causing low water pressure which affects plumbing, laundry operation, the
kitchen and other facility functions. Work orders and bids have been submitted and are
awaiting county approval. Raymond Detention Center is also in need of roof repairs. The bids
have been submitted to the county and are too awaiting approval.

The Mental Health Planning Unit committee continues to meet to discuss the new mental
health unit. The committee’s members are Krista Chick, Mental Health, Director for
QCHC; Dr. Donald Kern, Ebbonie Winfield, HSA, Nurse Wanda Gray, QCHC Director of
Nursing, Nurse Lisa Buffington, QCHC Discharge Planner, Major Kathryn Bryan, Jail
Administrator, Capt. Anthony Simon, Work Center, Capt. Jarvis Conner, Raymond
Detention Center, and Lt. Cheryl George, Administrative Lieutenant Raymond Detention
Center. The group meets monthly to discuss plans for the unit including staffing, criteria
for admission to and discharge from the unit. The members also talk about the types of
programs that will be offered to the detainees being housed in the unit.

There have been some communication deficits between the court scheduler, who also
schedules attorney visits, and detention staff. In some cases, attorney visits are now being
performed via LIFESIZE. On several occasions, attorneys have been visible on the screen
waiting for detainees. Upon inquiry, it is discovered that responsible staff is unaware that
the visit(s) has/have been scheduled. This results in attorneys having to cancel scheduled
meetings or having to wait for extended periods of time for detainees to be brought up for
visits. Lieutenant Cheryl George had agreed to contact the scheduler and correct this
dilemma but the problems still exist.

New video units have been ordered for each unit. Once installed, attorney’s visits will be
conducted in the units which will eliminate the need for staff to be available to transport

detainees to the courtroom and remain throughout the visit. A plan has also been developed Commented [KB5]: | didn’t have to submit anything to

io begin conducting municipal court via LIFESIZE. This will greatly aid in reducing the jail themnitantiis [uid eubiniathe sa emer fon Cie Icec
stations which will be exclusively for attorney/client visits to

population that has suffered as a result of the pandemic and the decline of in-person court expedite inmate's access to the courts (1" Amendment right

hearings. Fhetai}-Administratorsibatittedthe prepesaland-al bidstethe Basebet issue.)

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In service to our detainees, (16) initial court hearings and (30 preliminary hearings were
conducted in September 2021. There were no requests for court made during this reporting
period. Transportation carried (391) detainees to (118) destinations in September 2021.

Classification reported last month that unauthorized staff are moving detainees without
input from their department or medical. This remains a problem and continues to be a
potential hazard because unit staff are unaware of a detainee’s restrictions or limitations and
may place them in an environment that is detrimental to their well-being and mental health.
Seven-day segregation reviews have been eliminated as a result of the weekly IDT meetings
that address all facets of the segregated detainees’ incarceration.

The Sheriff Office’s I.T. Officer has fixed the glitches in the Jail Management System.
Staff can no longer navigate to the next screen without completing all of the required
demographic information. If staff attempts to move to the next screen without entering the
required information, the missing section is highlighted and staff cannot proceed without
adding the missing information. There are other improvements planned to assist officers in
completing an accurate and detailed booking for each arrestee. All improvements will be
noted in future reports as they ensue,

Last month I reported that there were still concerns about the lack of reports available
from JMS. Crucial informative reports that staff should be able to extract from the system
appeared unavailable. They are listed in the queue but are inaccessible to staff. According to
the Sheriff Office’s I.T. Officer, staff may be entering incorrect search criteria which is
yielding negative results. Some reports may take longer to generate because of the large
amount of information they contain. He also advised that several useful reports such as, point-
based classification, facility log, and inmate supply property are available for use. All that is
needed is an activation request from the Jet AdministraterDetention Administrator. Per Mr.
Finch, ADSI is willing to provide free training to supervisors and the Training Department if
they are willing to travel to their office in Southaven, Mississippi.

Walkthroughs of Raymond Detention Center persist in being challenging. Staff continues
to congregate in pod control. There is very little to no staff control in A-Pod. Staffing is
inadequate in this unit. Oftentimes one officer is covering multiple units which is a life safety
issue for the officer as well as the detainees. In speaking with a member of the Command
staff, it was relayed that because of the lack of secure doors in A-Pod, there is little that staff
can do to maintain control. It is hard to gain compliance from detainees when they can’t be
locked behind their doors. It is believed this problem will be corrected once B-Pod is fully
functioning and the detainees are transferred to the more protected area. This will be
monitored for safety and compliance.

C-Pod, which is the direct supervision unit, has similar problems with low staffing and
multiple units being covered by one officer. Too often there is no officer stationed directly in
the unit. This allows fires to be set, assaults to occur, and a host of other harmful deeds to
transpire. This will be addressed at the next staff meeting.

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Detainees continue to walk around in their underwear at all times of the day. When
asked, they claim that their jumpsuits are in laundry. It’s been disclosed that this is true in
some cases but not always. Detainees are trading their jumpsuits for canteen, drugs, and other
items. Some are destroying them for various reasons each time they are issued a new suit.
Some detainees are being openly defiant and will retrieve their jumpsuit only when prompted
by staff.

In conclusion, some of the same issues noted in previous months’ reports still exist.
Problems with incident reports, observation logs, and other shift paperwork have not been
fully resolved. The JaiLAdministraterDetention Administrator’s work behind the scenes has
not allowed her the opportunity to right many of the continuing wrongs. She has vowed to
tackle the repetitive issues now that much of the administrative groundwork has been laid.
She was able to work with the Interim Sheriff in getting detention officers a much-needed pay
increase,

Shift call-ins are high at RDC and WC. Several directives and rollcall discussions have
been held to thwart this practice. Staff is being written up and recommended for disciplinary
action for excessive absences and call-ins. For too long, there have been little to no
repercussions for offending staff but this is changing with the new administration.

Another impediment to compliance is the resistance of detention staff and others under
the purview of the Sheriff's Office to provide necessary information to detentionjait
administration and quality assurance. Some departments cite confidentiality as the reason but
this is not a valid argument if the information being requested is directly needed for facility
management and compliance. There is also the reluctance from staff to part with old ways of
doing things even though the processes are archaic and in direct conflict with new and
improved procedures. The Jat-AdministraterDetention Administrator and her team are aware
of these hindrances and plan to address them at the next staff meeting.

Interdisciplinary meetings have resumed and are filled with information sharing,
solutions, and proposals that will enhance the services being provided by all. Medical, mental
health, supervisory and quality assurance staff each have a forum to brainstorm ideas to help
those suffering from mental illness in a state that has limited resources and is ill-equipped to
deal with the large number of people suffering from mental illness. Many of the incarcerated
mentally-ill detainees currently in our care do not need to be detained. They need to be placed
in facilities designed and equipped to handle their diagnoses and properly treat their
psychoses.

Major Bryan has come to understand the enormity of the dysfunction present in detention
services. In speaking with senior staff, it was ascertained that the present complications are
the result of many years of laissez-faire management in which accountability was lacking or
not consistent. The majority of staff have been operating independently and making it the best
they can. The staff that tried to operate in proper fashion were discounted, disregarded, and
made to feel inadequate. Cliques and favoritism have long been the norm. Major Bryan is
diligently working to reverse these anomalies and improve the culture of the jail. It did not get

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this way overnight and it will not be fixed overnight. It will take patience, skills, and a vast
knowledge of human behavior to advance detention services.

Many of the goals and plans for improvement that are being attempted in Detention
Services are pending approval by the Board of Supervisors. All of the groundwork has been
completed and bids obtained. Everything has been submitted to the Board of Supervisors. It
is’s-similar to a bill in Congress. The bill is sent for a vote but dies in committee. The contract
for the provision of health services was renegotiated early on Major Bryan’s tenure. As of
September 30", the contract has not been signed by the County. Several HVAC problems,
facility improvements, and repairs are being delayed by the County’s slow response.
Compliance in detention cannot be achieved if every necessary change is thwarted by the
inaction of the Board of Supervisors, the county’s legal representatives, administrative staff,
and other involved personnel.

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